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         AO
          AO450
             450(GAS
                 (GASRev
                     Rev.09/20)
                          6/03) Judgment in a Civil Case



                                      United States District Court
                                                Southern District of Georgia
                  VINCENT BORKOWSKI; and MARY
                  BORKOWSKI,

                      Plaintiffs,
                                                                                   JUDGMENT IN A CIVIL CASE

                                                                                                     620-cv-43
                                           V.                                    CASE NUMBER:
                  WAL-MART STORES EAST, LP,

                      Defendant.




                    Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
                    has rendered its verdict.

                    Decision by Court.This action came before the Court. The issues have been considered and a decision has been
            ✔
                    rendered.

                    IT IS ORDERED AND ADJUDGED
                    that in accordance with the Order of the Court dated September 30, 2021, the Defendant's

                    Motion for Summary Judgment is granted. Judgment is entered in favor of Defendant and this case

                    stands closed.




           Approved by: ________________________________
                          ___________________________




           October 5, 2021                                                     John E. Triplett, Clerk of Court
           Date                                                                Clerk



                                                                               (By) Deputy Clerk
GAS Rev 10/2020
